                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER


 UNITED STATES OF AMERICA                      )      MATTICE/CARTER
                                               )
        v.                                     )      CASE NO. 4:11-CR-12
                                               )
 KEVIN STUBBLEFIELD                            )


                                             ORDER

        On September 6, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture and distribute five

 (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 USC §§ 846 and 841(b)(1)(B), in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in the lesser included offense in Count One of the Indictment; (c) that a

 decision on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant

 shall remain in custody pending sentencing in this matter (Doc. 303). Neither party filed an

 objection within the given fourteen days. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1)

 and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea



Case 4:11-cr-00012-TRM-CHS            Document 328        Filed 09/26/11      Page 1 of 2      PageID
                                            #: 733
 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 December 5, 2011, at 9:00 am.

        SO ORDERED.

        ENTER:




                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 4:11-cr-00012-TRM-CHS          Document 328      Filed 09/26/11     Page 2 of 2     PageID
                                          #: 734
